Case 2:OO-Cr-20015-BBD Document 96 Filed 08/11/05 Page 1 of 3 Page|D 96

IN THE UNITED sTATEs msch CoUR'r FoR TRLF"'ED m ’¢£°~°~

 

WESTER`§P§’SI§ET§INC§I$IFS:§§NESSEE 05 Auc n nn n= 28
UNITED sTATEs oF AMERICA, ) afg;('@%? EZT*HPYH
Plaintiff, §
v. § Crimioal No. 00-CR20015
KENDRICK wATsoN §
Defendant. §

 

ORDER GRANTING PE'I`I'I`IONER’S MOTION FOR CONTINUANCE

 

This matter came to be heard on the 10th day of August, 2005, before the
Honorable Bernice B. Donald, United States District Judge. After hearing and due

deliberation thereon it is hereby ORDERED, ADJUDGED, AND DECREED:

That the above slt);led.ca.se has been reset this the /Q jud day of %‘¢,

¢MF_.

IT IS SO this 10th day of August, 2005.

 

 

TED sTA S DISTRI¢T JUDGE

Th!s document entered on the docket sheet in compliance
with Flu|a 'E,” ami/or 32(b) FRCrP on g’

 

Case 2:OO-Cr-20015-BBD Document 96 Filed 08/11/05 Page 2 of 3 Page|D 97

Respectfully submitted,

%li\* ,,,,,

Charles F/Waldrnan

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Memphis, TN 38]03

(901) 331-4197

(901) 521-9956 FAX

CERT]FICATE OF SERVICE

This is to certify that copy of the foregoing Motion for Continuance has been
forwarded to Stuart Cana}e, Assistant United States Attorney, Suite 800, 167 North Main
Street, Memphis, Tennessee, 38103.

THIS the Lth day ofAu st, 2 05.

/-\n

Charles E.--'Waldman

 

 

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This notice confirms a copy of the document docketed as number 96 in
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Honorable Bernice Donald
US DISTRICT COURT

